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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

TERRYONTO MCGRIER,

     Plaintiff,

v.                                       CIVIL ACTION NO. 2:22-00121
                                         (Criminal No. 2:93-00196)

UNITED STATES OF AMERICA,

     Defendant.

                     MEMORANDUM OPINION AND ORDER

        By Standing Order, this action was referred to United

States Magistrate Judge Dwane L. Tinsley for submission of

findings and recommendation regarding disposition pursuant to 28

U.S.C. § 636(b)(1)(B).     Magistrate Judge Tinsley submitted to

the court his Findings and Recommendation on December 17, 2024,

in which he recommended that the court deny plaintiff’s motion

under 28 U.S.C. § 2255 and dismiss this case from the court’s

active docket.

        In accordance with the provisions of 28 U.S.C. § 636(b),

plaintiff was allotted fourteen days and three mailing days in

which to file any objections to Magistrate Judge Tinsley's

Findings and Recommendation.        The failure of any party to file

such objections within the time allowed constitutes a waiver of

such party's right to a de novo review by this court.              Snyder v.

Ridenour, 889 F.2d 1363 (4th Cir. 1989).
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          Neither party filed any objections to the Magistrate

Judge's Findings and Recommendations within the requisite time

period.    Accordingly, the court adopts the Findings and

Recommendations of Magistrate Judge Tinsley as follows:

          1. Plaintiff’s motion under 28 U.S.C. § 2255 is DENIED;

          2. This action is DISMISSED; and

          3. The Clerk is directed to remove this case from the

            court’s active docket.

          Additionally, the court has considered whether to grant a

certificate of appealability.       See 28 U.S.C. § 2253(c).         A

certificate will not be granted unless there is “a substantial

showing of the denial of a constitutional right.”             28 U.S.C. §

2253(c)(2).    The standard is satisfied only upon a showing that

reasonable jurists would find that any assessment of the

constitutional claims by this court is debatable or wrong and

that any dispositive procedural ruling is likewise debatable.

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v.

McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676,

683-84 (4th Cir. 2001).      The court concludes that the governing

standard is not satisfied in this instance.           Accordingly, the

court DENIES a certificate of appealability.




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        The Clerk is further directed to forward a copy of this

Memorandum Opinion and Order to counsel of record and

unrepresented parties.

        IT IS SO ORDERED this 27th of January, 2025.

                                          ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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